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 DISTRICT COURT, DENVER COUNTY,
 COLORADO
 1437 Bannock Street
 Denver, CO 80202                                                 COURT USE ONLY


 Plaintiff(s):    EXTRACTION OIL AND GAS,
 INC.

 Defendant(s): COLTER ENERGY SERVICES
 USA, INC.,

   Tamir Goldstein, #32413                                  Case Number:
   Dana Svendsen, #38545
   Sherman & Howard L.L.C.
   633 17th Street, # 3000
   Denver, CO 80202                                         Div./Ctrm.:
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                                          COMPLAINT

      Plaintiff Extraction Oil & Gas, Inc. (“Plaintiff” or “Extraction”), by its attorneys,
Sherman & Howard L.L.C., alleges as follows for its Complaint against Defendant Colter
Energy Services USA, Inc. (“Colter”):

                                JURISDICTION AND VENUE

       1.      Extraction is a Delaware corporation, licensed to do business in Colorado, with its
principal place of business in Colorado, with its office located at 370 17th Street, Suite 5300,
Denver, CO 80202.

       2.       Defendant Colter is a Nevada corporation, licensed to do business in Colorado,
with an office located at 15779 Tanya Street, Sterling, CO 80751.

        3.      Venue is proper in the City and County of Denver under C.R.C.P. 98 because all
parties are residents of Colorado, and the parties’ contract provides that venue shall be in the
City and County of Denver.




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        4.      This Court has jurisdiction over this action pursuant to C.R.S. § 13-1-124 because
this action arises from a transaction of business within this state.

                                   GENERAL ALLEGATIONS

        5.     Extraction is an oil and gas exploration company with operations in various
locations throughout Colorado.

      6.      Extraction hires specialty contractors to complete the oil well drilling and
completion process. Colter was one such specialty contactor.

       7.     Colter is a large oil and gas service contractor with significant operations
throughout Colorado and the U.S. Colter represents itself as “specializ[ing] in providing flow
back” and having “an industry leading integrated Health, Safety and Environmental program.”

         8.     As to safety specifically, Colter’s website represents that:

                  a.    It “will conduct its activities in a manner that safeguards its employees,
         clients, sub-contractors, visitors and the public.”

                b.     “The company’s management team provides and maintains a safe working
         environment with proper policies, procedures, training, equipment and emergency
         response procedures in accordance with all company standards and applicable
         government regulations.”

                c.      “All employees and others on company and clientele worksites are
         responsible for following government regulations, safety rules, procedures, wearing and
         using proper personal protective equipment, participating in training programs, reporting
         incidents and informing management of unsafe work conditions.”

                 d.     “As a leading oilfield service company, Colter Energy employs highly
         trained and experienced personnel to ensure the best interests and safety of our
         customers, employees and the public are always protected.”

       9.     Extraction hired Colter pursuant to a Master Service Agreement dated June 26,
2017 (the “Contract”).

         10.    Among other safety requirements, the Contract provides:

                a.      Colter “is capable of and shall perform the Work safely and efficiently
         with due diligence…in strict conformity with the best standard of practice.”

                 b.      Colter “shall take, and cause [Colter]’s employees, agents, licensees, and
         permittees to take all necessary precautions (including those required by [Colter]’s safety
         regulations) to protect the premises and all persons and property thereon from damage
         and injury.”
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                c.     Colter has “the sole authority and right to direct, supervise and control the
         performance of all the details of the Work.”

                 d.     “COMPLIANCE WITH LAWS AND SAFETY AND
         ENVIRONMENTAL POLICIES. Contractor … covenants, represents and warrants
         that the Work and all related activities carried out by Contractor… shall be in strict
         compliance with all applicable laws, including statutes, regulations, rules, ordinances,
         orders and codes…”

         11.    As to safety, Colter also certified it would:

                 a.   “[C]onduct its operations in a manner that protects the safety and health of
         its and Company’s employees and the public…”

                b.   “Advise and train its supervisors in safety…and hold each accountable for
         compliance…”

                c.    “Provide its employees with adequate training and education in
         safety…and hold each employee accountable for compliance…”

                 d.    “Comply with all applicable safety, health and environmental laws and
         regulations.”

                e.     “Encourage its employees to communicate their concerns to management
         about any unresolved safety, health and environmental risks they might have identified.”

                 f.     “Conduct safety and environmental reviews of Contractor’s operations in
         order to evaluate its compliance with all applicable safety, health and environmental laws
         and regulations.”

       12.      Under these unambiguous Colter terms, Colter was responsible for the safe
operation of its work.

         13.    Colter breached these obligations.

      14.     Extraction is the operator of the Stromberger 22-E Pad location, located in Weld
County, Colorado (“Stromberger Facility”).

        15.    Pursuant to the Contract, Extraction hired Colter to perform flow back operations
at the Stromberger Facility.

        16.    On the evening of December 22, 2017, a fire occurred while Colter was
performing flow back activities at the Stromberger Facility. The fire resulted in injuries to one
onsite Colter employee, who was subsequently transferred, treated and released from a local
hospital.

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         17.    The fire caused damage to tanks, separation equipment, and some wellhead
equipment, and led to a minor fluid release. Extraction and several local fire districts quickly
responded, putting out the tank fire by approximately 2:00 a.m. on December 23, 2018. The
wellhead equipment fire was suppressed and the damaged wellhead repaired by 2:00 p.m. that
same day. Extraction and the local fire departments contained the fire and its impacts to the pad
itself and runoff from firefighting activities, suppressant foam, and fluid leaks did not leave the
Stromberger Facility at any time.

        18.     Colter caused the fire by its improper and unauthorized operation of a generator in
the area of the flowback operations. The generator ignited natural gas vapor in the area near the
flowback tanks. The separators used by Colter require some power source for lighting. There
were numerous power sources available to Colter, including light posts and generators. It was
Colter’s responsibility to ensure that any power source was properly located and operated to
ensure the safety of the Stromberger Facility.

        19.     Colter’s placement and operation of the generator was in direct contravention to
clearly legible signage placed at the entry of the flowback area that stated “DANGER NO
IGNITION SOURCES BEYOND THIS POINT.”

        20.     Colter placement and use of the generator violated Extraction’s policies and
instructions, as well as Colter’s own policies.

       21.     Among other applicable laws and regulations, Colter’s operations are governed by
Occupational Safety and Health Administration (OSHA) rules and regulations, as well as rules
and regulations promulgated by the Colorado Oil and Gas Conservation Commission (COGCC).

         22.   Colter’s actions violated OSHA and COGCC rules and regulations.

        23.     On August 27, 2018, OSHA, issued a citation to Colter for a violation of OSHA
regulations governing flammable liquids, and entered a settlement with the Colter in exchange
for payment of a fine. In contrast, OSHA closed its investigation of Extraction without issuing
any citations to Extraction.

        24.     On August 17, 2018, the COGCC issued a Notice of Alleged Violation
(“NOAV”) to Extraction for Colter’s violation of COGCC Rule 606A.h., Fire Prevention and
Protection, for failing to keep a source of ignition a safe distance away from flammable liquids
storage areas.

       25.     In response to the NOAV, Extraction had to make significant operational
concessions to the COGCC at significant cost, none of which would have been necessary but for
Colter’s breaches.

       26.     The NOAV resulted in an Administrative Order on Consent, which included fines
and penalties. In addition, the negative impact caused to Extraction’s regulatory relationship


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with the COGCC and municipal entities is immeasurable. Extraction’s reputation has been
severely damaged.

         27.    The Contract provides:

                a.      Colter “agrees to indemnify [Extraction] … from and against any loss,
         damage, or liability directly or indirectly resulting from any breach of the covenants,
         representations and warranties…”

              b.    Colter “SHALL PROTECT, DEFEND, INDEMNIFY AND HOLD
         HARMLESS COMPANY… AGAINST ANY LOSS, LIABILITY OR DAMAGE
         INCIDENT TO CLAIMS, DEMANDS OR CAUSES OF ACTION OF EVERY KIND
         AND CHARACTER WHATSOEVER…RELATED TO OR ARISING IN
         CONNECTION WITH BODILY INJURY, ILLNESS, DEATH, DAMAGE TO OR
         LOSS OF PROPERTY OF CONTRACTOR, CONTRACTOR’S EMPLOYEES,
         CONTRACTOR’S CONTRACTORS OR THEIR EMPLOYEES…ARISING OUT OF
         OR RESULTING FROM THE PERFORMANCE OF (OR THE FAILURE TO
         PERFORM UNDER) THIS AGREEMENT…”

               c.    Colter “SHALL PROTECT, DEFEND, INDEMNIFY AND HOLD
         HARMLESS THE COMPANY GROUP FROM AND AGAINST ANY CLAIM
         SUFFERED BY A THIRD PARTY, TO THE EXTENT AND PROPORTION SUCH
         CLAIM ARISES OUT OF OR RESULTS FROM THE NEGLIGENCE…STRICT
         LIABILITY, WILLFUL OR WANTON MISCONDUCT, BREACH OF CONTRACT,
         AND/OR FAULT (IF ANY) OF ANY MEMBER OF THE CONTRACTOR GROUP,
         OR CONTRACTOR’S INVITEES.”

         28.    Colter also breached these obligations.

       29.      Extraction has repeatedly requested Colter reimburse Extraction for the losses and
damages it has suffered, as specifically provided for and required by the Contract, but Colter has
obstinately refused in violation of its obligations under the Contract.

                                  FIRST CLAIM FOR RELIEF
                                      (Breach of Contract)

         30.    Extraction incorporates by reference the above paragraphs.

       31.    Extraction contracted with Colter for the performance and management of flow
back operations at the Stromberger Facility.

         32.    The Contract is valid and enforceable.




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        33.    As more specifically provided for in the Contract, Colter was responsible for
directing, supervising and controlling the performance of the flow back operations in a safe
manner and in compliance with all policies, rules and regulations.

        34.     As more specifically provided for in the Contract, Colter is obligated to
indemnify, protect, and hold Extraction harmless from any and all losses and damages of any
type related to Colter’s performance of the flow back operations.

         35.    Colter breached its obligations under the Contract.

       36.    Extraction has performed all of its obligations under the Contract or is legally
excused from such performance.

       37.     As a direct and proximate result of Colter’s breaches, Extraction has suffered and
will continue to suffer damages.

                                      PRAYER FOR RELIEF

         Extraction specifically requests that judgment be entered as follows:

               a.     Judgment against Colter for their breach of contract and an award of
         damages to Extraction in an amount to be proven at trial;

                b.       Judgment for court costs, attorney’s fees, expert witness fees, and interest
         pursuant to statute, and/or the Contract; and

                c.      For such other and further relief as the Court deems proper.

                                          JURY DEMAND

         Extraction demands a trial by jury on all issues so triable.

                Dated: January 21, 2019.
                                                SHERMAN & HOWARD L.L.C.

                                                By: s/ Tamir Goldstein
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